         Case: 1:17-cv-00750-SJD Doc #: 8 Filed: 12/07/17 Page: 1 of 5 PAGEID #: 43



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

SHANDRA FORSHA,                                       :       Case No. 1:17-cv-00750
                                                      :
         Plaintiff,                                   :       Judge Susan J. Dlott
                                                      :
    v.                                                :       ORDER
                                                      :
MIAMI VALLEY HOSPITAL, et al.,                        :
                                                      :
          Defendants.                                 :


          This matter is before the Court on Defendant the United States of America’s Motion to

Dismiss for Failure to Exhaust Administrative Remedies (Doc. 5) and Plaintiff’s Motion to

Remand (Doc. 7). For the reasons that follow, the United States’ Motion will be GRANTED and

this civil action will be REMANDED.

    I.        BACKGROUND1

          This civil action arises from medical care provided to Kevin J. Forsha at Miami Valley

Hospital in April 2016. (Complaint, Doc. 3 at PageID 24–25 (¶¶ 10–22, 27).) Mr. Forsha later

died, and his wife Shandra Forsha, individually and as personal representative of Mr. Forsha’s

estate, sued the hospital and five other Defendants, including Aaron Joseph Schneider, M.D. (Id.

at PageID 21–22 (Caption; ¶¶ 1, 2).) She filed her Complaint in the Warren County, Ohio Court

of Common Pleas on October 6, 2017. (Id. at PageID 21 (Caption).)

          On November 8, 2017, Defendant Schneider removed the case from Warren County to

the Southern District of Ohio pursuant to 28 U.S.C. § 1442(a)(1). (Notice of Removal, Doc. 1.)

In support, Dr. Schneider attached the Certificate of Scope of Employment completed by


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 Background facts are drawn from Plaintiff’s Complaint (Doc. 3) and the docket maintained by the Clerk of this
Court.

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     Case: 1:17-cv-00750-SJD Doc #: 8 Filed: 12/07/17 Page: 2 of 5 PAGEID #: 44



Benjamin C. Glassman, the United States Attorney for the Southern District of Ohio, confirming

that he was an employee of the United States Department of the Air Force (“USAF”) and acting

within the scope of his federal employment with regard to the allegations made in Plaintiff’s

Complaint. (Doc. 1-4.) On the same date, by operation of law, the United States of America

was substituted as Defendant in place of Dr. Schneider. (Notice of Substitution of the United

States of America for Aaron Joseph Schneider, M.D., Doc. 2.)

         Shortly thereafter, the United States filed the instant Motion to Dismiss for Failure to

Exhaust Administrative Remedies. Because Plaintiff failed to first file an administrative tort

claim, the United States argues that this Court lacks jurisdiction over the subject matter of

Plaintiff’s wrongful death and survivorship causes of action that comprise the entirety of the

Complaint. Thus, they should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1).

         Through counsel, Plaintiff concedes that she has “no factual or legal argument to present

to oppose” the United States’ Motion. (Doc. 7 at PageID 40.) Instead, she asks the Court to

remand the “remaining” case back to Warren County. (Id.)

   II.      ANALYSIS

   A. The United States’ Motion to Dismiss

         Rule 12(b)(1) authorizes dismissal of a claim when a court lacks jurisdiction over its

subject matter. See Fed. R. Civ. P. 12(b)(1). It is the plaintiff’s burden to prove jurisdiction “in

order to survive [such a] motion.” See Moir v. Greater Cleveland Reg’l Transit Auth., 895 F.2d

266, 269 (6th Cir. 1990) (citing Rogers v. Stratton Indus., Inc., 798 F.2d 913, 915 (6th Cir.

1986)). If necessary, a court “may look beyond the jurisdictional allegations in the complaint

and consider submitted evidence.” Taylor v. KeyCorp, 680 F.3d 609, 612 (6th Cir. 2012).

         The Federal Tort Claims Act, 28 U.S.C. § 2675(a), reads in pertinent part:



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     Case: 1:17-cv-00750-SJD Doc #: 8 Filed: 12/07/17 Page: 3 of 5 PAGEID #: 45



       An action shall not be instituted upon a claim against the United States for money
       damages for injury or loss of property or personal injury or death caused by the
       negligent or wrongful act or omission of any employee of the Government while
       acting within the scope of his office or employment, unless the claimant shall
       have first presented the claim to the appropriate Federal agency and his claim
       shall have been finally denied by the agency in writing and sent by certified or
       registered mail. . . .

Before Plaintiff can sue the United States in tort, therefore, she must exhaust her federal

administrative remedy. “The administrative claim procedure prescribed in 28 U.S.C. § 2675 is

jurisdictional.” Schaefer v. Hills, 416 F. Supp. 428, 429 (S.D. Ohio 1976); Walls v. United

States, No. 1:07-CV-674, 2007 WL 4365413, at *1 (S.D. Ohio Dec. 11, 2007); see Roberts v.

United States, 191 F. App’x 338, 344 (6th Cir. 2006).

        In support of its Motion, the United States has filed the Declaration of Patrick J. Wells,

Colonel, United States Air Force, who serves as the Chief of the Claims & Tort Litigation

Division of the Air Force Legal Operations Agency. (Doc. 5-1.) Colonel Wells avers that he has

searched the relevant records and has determined that “no tort claim has ever been submitted to

the Air Force by either SHANDRA FORSHA or KEVIN FORSHA.” (Id. at PageID 36–37.)

       The Court finds that Plaintiff has not complied with the administrative exhaustion

requirement of § 2675(a). Absent such compliance, the Court lacks subject matter jurisdiction

over the wrongful death and survivorship causes of action she asserts against the United States.

Therefore, the United States will be dismissed from the Complaint.

   B. Plaintiff’s Motion to Remand

       In the event the Court grants the United States’ Motion to Dismiss, Plaintiff asks the

Court to “exercise its discretionary power to aid in the administration of justice” and remand the

case back to Warren County. (Doc. 7 at PageID 40–41 (citing Carnegie-Mellon Univ. v. Cohill,




                                                 3
     Case: 1:17-cv-00750-SJD Doc #: 8 Filed: 12/07/17 Page: 4 of 5 PAGEID #: 46



484 U.S. 343 (1988).) Under the circumstances here, however, remand is not discretionary, but,

rather, required.

          This civil action—sounding in common law tort— properly was removed to the Southern

District of Ohio because Plaintiff sued, among others, an officer in the United States Air Force.

Following removal, the United States properly was substituted for that officer because he was

acting in the scope of his duties with respect to the events about which Plaintiff complains. And,

because Plaintiff failed to exhaust her administrative remedies as required by the Federal Tort

Claims Act, the United States properly was dismissed from her Complaint. Now, however,

subject matter jurisdiction is lacking in this Court, inasmuch as the dispute that remains is

between citizens of the same state.

          “If at any time before final judgment it appears that the district court lacks subject matter

jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c) (emphasis added); see Page v.

City of Southfield, 45 F.3d 128, 133 (6th Cir. 1995) (“[T]he court can, in fact must, dismiss a

case when it determines that it lacks subject matter jurisdiction, whether or not a party has filed a

motion.”). With the United States dismissed from the Complaint, the Court lacks subject matter

jurisdiction to preside over an action in tort between citizens of the same state. Remand is

obligatory.

   III.       CONCLUSION

          For the reasons set forth above, Defendant United States of America’s Motion to Dismiss

for Failure to Exhaust Administrative Remedies (Doc. 5) is GRANTED and the Complaint

against the United States is DISMISSED WITHOUT PREJUDICE. And, pursuant to 28

U.S.C. § 1447(c), the Clerk is ORDERED to REMAND this civil action to the Warren County,

Ohio Court of Common Pleas.



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Case: 1:17-cv-00750-SJD Doc #: 8 Filed: 12/07/17 Page: 5 of 5 PAGEID #: 47



 IT IS SO ORDERED.

 Dated: December 7, 2017         S/Susan J. Dlott_________________
                                 Judge Susan J. Dlott
                                 United States District Court




                                    5
